Case 4:19-cv-00103-AWA-DEM Document 1 Filed 10/24/19 Page 1 of 11 PageID# 1



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA

                             (Newport News Division)
__________________________________________
                                           )
PEDRO BAUTISTA,                            )
                                           )
      Plaintiff,                           )
                                           )
              v.                           )
                                           )      Civ. No:
NAWAB OF VIRGINIA, INC., NAWAB             )
INDIAN CUISINE, INC., ASHKOK ARORA,        )
AVINASH ARORA,                             )
                                           )
      Defendants.                          )
__________________________________________)

                                           COMPLAINT

                                 PRELIMINARY STATEMENT

       1.         Plaintiff PEDRO BAUTISTA sues his employers, NAWAB OF VIRGINIA, INC.,

NAWAB INDIAN CUISINE, INC., ASHOK ARORA, and AVINASH ARORA, for failure to

pay minimum wage and overtime in violation of the Fair Labor Standards Act, 29 U.S.C. § 201 et

seq.

       2.         From April 14, 2014, until the present, Plaintiff has been employed at Defendant

Nawab Indian Cuisine (“the Restaurant”), at 204 Monticello Avenue in Williamsburg, Virginia.

       3.         Upon information and belief, the restaurant is under corporate ownership of

Defendant Nawab of Virginia, Inc. (together with Defendant Nawab Indian Cuisine, Inc., the

“Corporate Defendants”).

       4.         Upon information and belief, Defendant Ashok Arora is the owner and operator of

the Restaurant.




                                                  1
Case 4:19-cv-00103-AWA-DEM Document 1 Filed 10/24/19 Page 2 of 11 PageID# 2



       5.      Upon information and belief, Defendant Avinash Arora is the manager of the

restaurant and has day-to-day supervisory authority over Plaintiff.

       6.      Together, the Individual and Corporate defendants comprise “Defendants.”

       7.      For the first three years of his employment, Plaintiff routinely worked

approximately sixty-eight-point-two hours per week over the course of a seven-day workweek.

Since then, Plaintiff has been working approximately sixty-three-point-two hours per week over

the course of a six-day workweek.

       8.      In violation of the federal Fair Labor Standards Act, Defendants failed to pay

Plaintiff the statutory minimum wage for approximately the first three years of his employment,

and has failed to pay the time-and-a-half overtime premium for the entirety of Plaintiff’s

employment.

                                 JURISDICTION AND VENUE

       9.      This action arises under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201

et seq. Jurisdiction over Plaintiffs’ FLSA claims lies in this court pursuant to 28 U.S.C. § 1331

(federal question) and 29 U.S.C. § 216(b) (FLSA private right of action).

       10.     The Court has personal jurisdiction over the Corporate Defendants because (1) they

are Virginia corporations with headquarters in Virginia, (2) they transact business in Virginia and

contract to supply services in Virginia, including the labor that Bautista performed in Virginia, and

(3) as Bautista’s employers, the Corporate Defendants’ acts and omissions in Virginia gave rise to

the wage violations that underlie this complaint.

       11.     The Court has personal jurisdiction over Defendants Ashok Arora and Avinash

Arora because (1) they are Virginia residents, and (2) as Bautista’s employer, the Aroras’ acts and

omission in Virginia give rise to the wage violations that underlie this complaint.



                                                 2
Case 4:19-cv-00103-AWA-DEM Document 1 Filed 10/24/19 Page 3 of 11 PageID# 3



       12.     Venue is proper in this district pursuant to 28 U.S.C. § 1391 (b)-(c), as Defendant

Nawab of Virginia, Inc.’s and Nawab Indian Cuisine’s principal places of business are in this

District. Defendant Ashoka Arora owns multiple restaurants in this District, also named Nawab

Indian Cuisine, in addition to Nawab Indian Cuisine of Williamsburg. Venue is also proper in this

District because a substantial part of the events or omission giving rise to Bautista’s claims

occurred in Williamsburg. The Newport News Division is the proper division for the same reason.

See Local Rule 3(B)(3).

                                           PARTIES

       13.     Pedro Bautista is a resident of Williamsburg, Virginia, who is employed by

Defendants, first as a cook, and then as the second cook at Nawab Indian Cuisine, a restaurant in

Williamsburg, Virginia.

       14.     Upon information and belief Nawab of Virginia, Inc., is a Virginia corporation with

its principal place of business in Williamsburg, Virginia. Nawab of Virginia, Inc. exists in order

to operate the Restaurant.

       15.     Upon information and belief, Nawab Indian Cuisine, Inc., is a Virginia corporation

that owns and operates restaurants across Virginia, including but not limited to Nawab of Virginia,

Inc.

       16.     Upon information and belief, Ashok Arora is the owner, operator, and manager of

both Corporate Defendants. Ashok Arora had ultimate authority over corporate operations at the

Restaurant, had the authority to hire and fire, determined employee’s work schedules, and had

authority over payroll.

       17.     Upon information and belief, Avinash Arora is the manager of the Restaurant in

Williamsburg, Virginia. Avinash Arora had day-to-day supervisory authority over employees at



                                                3
Case 4:19-cv-00103-AWA-DEM Document 1 Filed 10/24/19 Page 4 of 11 PageID# 4



the Restaurant, including the power to discipline directly or indirectly, and he has in the past been

delegated payroll responsibilities by Ashok Arora.

                                              FACTS

                                            Defendants

       18.     Upon information and belief, throughout Mr. Bautista’s employment, Defendants

jointly had the power to hire, fire, or discipline workers at all positions at the Restaurant,

particularly Ashok Arora with regards to the direct power to hire, fire, and discipline workers, and

Avinash Arora with regards to the power to discipline workers directly or indirectly.

       19.     Upon information and belief, throughout Mr. Bautista’s employment, Defendants

jointly had the power to direct, control, or supervise his work, whether directly or indirectly.

       20.     Upon information and belief, Defendants, except for Avinash Arora directly or

indirectly set Mr. Bautista’s work schedule, or jointly had the power to do so.

       21.     Upon information and belief, Defendants, except for Avinash Arora, determined

Mr. Bautista’s pay rate. Defendants determined Mr. Bautista’s method of payment or jointly had

the power to do so.

       22.     Upon information and belief, Defendants jointly maintained all records related to

Mr. Bautista’s employment.

       23.     Upon information and belief, Defendants are joint employers and are jointly and

severally liable for the acts complained of herein.

       24.     The Restaurant is part of a family-owned group of Indian restaurants throughout

Virginia and in other states. In total, upon information and belief, there are four Nawab Indian

Cuisine restaurants. The other three Nawab Indian Cuisines are located at 888 N. Military




                                                  4
Case 4:19-cv-00103-AWA-DEM Document 1 Filed 10/24/19 Page 5 of 11 PageID# 5



Highway Norfolk, Virginia; 756 First Colonial Road Virginia Beach, Virginia; and 11712

Jefferson Ave. Newport News, Virginia.

       25.     In addition to the Nawab Indian Cuisine group, upon information and belief, Mr.

Arora also owns or co-owns restaurants under different names, including restaurants in Richmond,

Virginia (“Lehja”), Virginia Beach, Virginia (“Masala Bites Indian Cuisine”), Raleigh, North

Carolina (“Azitra”), and Broomfield, Colorado (“Azitra”).

       26.     The Registered Agent of each corporate entity owning each Nawab Indian Cuisine

is Ashok Arora. Upon information and belief, Mr. Arora is the owner of all of the locations.

       27.     Corporate Defendants constitute a single enterprise for purposes of FLSA liability

under 29 U.S.C. §203(s)(1).

       28.     On information and belief, the gross annual business volume of Corporate

Defendants exceeded $500,000 at all times relevant to this action.

                                   Plaintiff’s Work Generally

       29.     Mr. Bautista was hired in or around April 14, 2014 by Ashok Arora, who offered

him a position as part of the kitchen staff of the Restaurant. Mr. Bautista understood from

conversations with other employees of Arora that his compensation would be roughly $1800 per

month and that he would have to work at the restaurant from opening to closing every day.

       30.     Since hire, Bautista has worked in the back end of the restaurant as a cook, and he

is now a second cook.

       31.     For the first three years of his employment, Mr. Bautista typically worked seven

days per week. On Mondays, Tuesdays, and Thursdays, he worked from approximately 10:00 AM

until 10:00 PM; on Wednesdays he worked from approximately 10:00 AM to 3:00 PM. On Fridays

he worked from approximately 10:00 AM to 10:30 PM. On Saturdays he worked from



                                                5
Case 4:19-cv-00103-AWA-DEM Document 1 Filed 10/24/19 Page 6 of 11 PageID# 6



approximately 10:30 AM until 10:30 PM. On Sundays, he worked from approximately 10:30 AM

until 10:00 PM.

       32.       Starting on or around April 1, 2017, Mr. Bautista was allowed to start taking

Wednesdays as a full day-off, but otherwise he has continued to work the same hours as above.

       33.       The Restaurant closes between 2:30 PM and 5:00 PM on weekdays, and between

3:00 PM and 5:00 PM on weekends. During the time that the Restaurant is closed, Mr. Bautista

typically takes a break between 3:00 PM and 4:30 PM but occasionally is required by Defendants

to work through that break, depending on customer demand.

       34.       Between April 2014 and March 2017, Mr. Bautista worked on average sixty-eight-

point-two (68.2) hours per week.

       35.       Between April 2017 and the date of filing this complaint in October 2019, Mr.

Bautista has worked on average sixty-three-point-two (63.2) hours per week.

       36.       Defendants has an obligation under the FLSA to maintain accurate time records of

Plaintiff’s hours worked.

       37.       On information and belief, Defendants have not kept time records of all hours

worked by Plaintiff.

                                      Pay Practices/Problems

       38.       For the first month of his employment in April 2014, Mr. Bautista was paid $1500.

       39.       From May 2014 until March 2016, Mr. Bautista was paid $1800 in cash on a

monthly basis.

       40.       In April 2016, Mr. Bautista received a $100 raise to his monthly pay rate, receiving

$1900 for that month.

       41.       Subsequently, Mr. Bautista received a $100 raise every six months thereafter.



                                                  6
Case 4:19-cv-00103-AWA-DEM Document 1 Filed 10/24/19 Page 7 of 11 PageID# 7



       42.     From April 2016 until September 2016, Mr. Bautista received $1900 per month.

       43.     From October 2016 until March 2017, Mr. Bautista received $2000 per month.

       44.     From April 2017 until September 2017, Mr. Bautista received $2100 per month.

       45.     From October 2017 until March 2018, Mr. Bautista received $2200 per month.

       46.     From April 2018 until September 2018, Mr. Bautista received $2300 per month.

       47.     From October 2018 until March 2019, Mr. Bautista received $2400 per month.

       48.     From April 2019 until September 2019, Mr. Bautista received $2500 per month.

       49.     For October 2019, Mr. Bautista received $2550 in cash.

       50.     Mr. Bautista still works at the Restaurant and is paid under the same structure.

       51.     Because Mr. Bautista is sometimes required to work during breaks and occasionally

required to stay late to finish cleaning the kitchen after especially busy evening shifts, his work-

hours for any given pay period are subject to some level of variance. However, he has always been

paid at a fixed rate once per month, regardless of the number of hours that he worked in the month

prior. Mr. Bautista has not been paid an overtime premium, despite working more than sixty (60)

hours a week, every week.

       52.     Mr. Bautista has ordinarily been paid in cash on the 7th or 8th of the month. Over

the course of his employment, Mr. Bautista has been physically handed his monthly payments by

both Ashok Arora and Avinash Arora. These payments have always been in cash.

       53.     On certain occasions, Mr. Bautista has been paid in cash by Avinash Arora, or by

Niru Arora, Ashok Arora’s wife.

       54.     Mr. Bautista has never received paystubs.




                                                 7
Case 4:19-cv-00103-AWA-DEM Document 1 Filed 10/24/19 Page 8 of 11 PageID# 8



       55.     Mr. Bautista does not recall ever seeing notices posted at the Restaurant in a

conspicuous place explaining his wage-and-hour rights under the Fair Labor Standards Act, and

upon information and belief there is none.

       56.     Defendants willfully violated the FLSA by knowingly failing to pay Mr. Bautista

according to the minimum wage and overtime provisions of the act.

       57.     Upon information and belief, at all relevant times Defendants intended to deprive

Mr. Bautista of the minimum wage and overtime pay he was entitled to under the FLSA, or acted

with reckless disregard for Bautista’s rights under the FLSA.

                                        CAUSES OF ACTION:

                         Fair Labor Standards Act, 29 U.S.C. § 201 et seq.

       58.     Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 57 above.

       59.     Mr. Bautista has consented to be party plaintiff to this action under the FLSA

pursuant to 29 U.S.C. § 216(b) and his consent is attached to this complaint as “Exhibit A.”

       60.     At all times relevant to this action:

                   a. Plaintiff was an employee of Defendants within the meaning of 29 U.S.C.

                         § 203(e)(1);

                   b. Defendants were the employer of Plaintiff within the meaning of 29

                         U.S.C. § 203(d);

                   c. Defendants employed Plaintiff within the meaning of 29 U.S.C. § 203(g);

                   and




                                                  8
Case 4:19-cv-00103-AWA-DEM Document 1 Filed 10/24/19 Page 9 of 11 PageID# 9



                    d. Plaintiff was engaged in commerce or the production of goods for

                         commerce, and/or were employed by Defendants in an enterprise engaged

                         in commerce or the production of goods for commerce.

        61.     By failing to pay Plaintiff his lawful minimum wage and time-and-a-half overtime

premium for every compensable hour of labor, as set forth above, Defendants violated the

minimum wage and overtime provisions of the Fair Labor Standards Act, 29 U.S.C. §§ 206-207,

to Plaintiff’s injury, and are liable to him in damages in the amount of his unpaid minimum wage

and overtime wages, plus an additional amount in liquidated damages, the costs of suit, and

reasonable attorneys’ fees pursuant to 29 U.S.C. § 216(b).

        62.     By not posting a FLSA sign advising workers of their FLSA rights, the statute of

limitations is tolled.

        63.     In the alternative, Defendants’ FLSA violations were “willful” within the

meaning of 29 U.S.C. § 255(a) in that Defendants made no effort whatsoever to pay Plaintiff the

proper minimum wage or overtime premium notwithstanding the fact that Plaintiff’s normal

work schedule required him to work in excess of forty (40) hours per week for the entirety of the

term of his employment; indeed Defendants created a structure in which they paid an insufficient

salary for a non-traditionally salaried position thereby skirting employment laws.

                                         Requested Relief

        Wherefore, Plaintiff Pedro Bautista respectfully requests that this court provide the

following relief:

        1.      Under Count I, declare that the statute of limitations for recovery under the FLSA

                is equitably tolled for the entire period of Plaintiff’s employment due to




                                                 9
Case 4:19-cv-00103-AWA-DEM Document 1 Filed 10/24/19 Page 10 of 11 PageID# 10



            Defendants’ failure to post a notice of employee’s rights under the FLSA on the

            premises as required under 29 C.F.R. §516.4;

      2.    Alternatively, under Count I, declare that the wage-and-hour violations complained

            of herein were willful within the meaning of the FLSA, such that a three-year statute

            of limitations would be appropriate;

      3.    Under Count I, award Plaintiff his actual damages under the FLSA, pursuant to 29

            U.S.C. §§ 206 and 207, in the amount of all unpaid minimum wages and overtime,

            in an amount appropriate to the proof at trial, jointly and severally against all

            Defendants;

      4.    Under Count I, award Plaintiff an additional equal amount as liquidated damages

            pursuant to 29 U.S.C. §216(b), jointly and severally against all Defendants;

      5.    Under Count I, award Plaintiff his costs and reasonable attorney’s fees, as

            appropriate under the Fair Labor Standards Act, 29 U.S.C. §216(b), jointly and

            severally against all Defendants; and

      6.    Provide such other and further relief as this court deems necessary and proper.

            Trial by Jury is demanded.

                                    Respectfully submitted this 24th day of October 2019

                                                         Pedro Bautista,

                                                         By Counsel


                                                         ____s/Rachel McFarland_________
                                                         Rachel McFarland, VSB #89391
                                                         Jason B. Yarashes, VSB #90211
                                                         LEGAL AID JUSTICE CENTER
                                                         1000 Preston Avenue, Suite A
                                                         Charlottesville, VA 22903
                                                         Tel: (434) 977-0553

                                             10
Case 4:19-cv-00103-AWA-DEM Document 1 Filed 10/24/19 Page 11 of 11 PageID# 11



                                              Fax: (434) 977-0558
                                              Email: RMcFarland@justice4all.org
                                                     jasony@justice4all.org

                                              ATTORNEYS FOR PLAINTIFF




                                     11
